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                                                                                           U.S. DISTRICT COURT
                                                                                               N.D. OF ALABAMA


                          UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA


EVAN MILLIGAN, et al.,

                                Plaintiffs,

       v.

JOHN H. MERRILL, et al.,
                                                             Civil Case No. 2:21-CV-01530-AMM
                               Defendants.




                        DECLARATION OF MOON DUCHIN, PH.D.

I, Moon Duchin, declare:


       1.      My name is Moon Duchin. I am over 18 years of age and have personal

knowledge of the facts set forth in this Declaration.

       2.      I hold a Ph.D. and an M.S in Mathematics from the University of Chicago as well

as an A.B. in Mathematics and Women’s Studies from Harvard University.

       3.      I am a Professor of Mathematics and a Senior Fellow in the Jonathan M. Tisch

College of Civic Life at Tufts University. I hold an affiliation as Collaborating Faculty in the

American Studies track within the Department of Race, Colonialism, and Diaspora Studies.

       4.      A copy of my expert report and exhibits in support, including a current copy of

my full CV, are attached as Exhibit 1 to this declaration.

       5.      All of the quantitative work described in my report was performed by myself with

the support of research assistants working under my direct supervision.




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       6.     I am compensated at the rate of $300 per hour. My compensation for my work on

this case is not dependent on the substance of my opinions or the outcome of the case.


I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.


                                  Medford, Massachusetts
Executed on December 10, 2021 in _________________________.


                                                    ______________ _____________________
                                                    Moon Duchin




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                    Exhibit 1
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 Presentation of Alternative Congressional Districting
                  Plans for Alabama
                                   Moon Duchin
                    Professor of Mathematics, Tufts University
         Collaborating Faculty in Race, Colonialism, and Diaspora Studies
                     Senior Fellow, Tisch College of Civic Life

                                    December 10, 2021


1    Background, qualifications, and materials consulted
I am a Professor of Mathematics and a Senior Fellow in the Jonathan M. Tisch College of Civic
Life at Tufts University. I hold an affiliation as Collaborating Faculty in Department of Race,
Colonialism, and Diaspora Studies (American Studies track). I hold a Ph.D. and an M.S in
Mathematics from the University of Chicago as well as an A.B. in Mathematics and Women’s
Studies from Harvard University.
    My general research areas are geometry, topology, dynamics, and applications of mathe-
matics and computing to the study of elections, voting, and civil rights. My redistricting-related
work has been published in venues such as the Election Law Journal, Political Analysis, Founda-
tions of Data Science, the Notices of the American Mathematical Society, Statistics and Public
Policy, the Virginia Policy Review, the Harvard Data Science Review, Foundations of Responsi-
ble Computing, and the Yale Law Journal Forum. My research has had continuous grant support
from the National Science Foundation since 2009, including a CAREER grant from 2013–2018
and a Convergence Accelerator grant from 2019–2021 entitled "Network Science of Census
Data." I am currently on the editorial board of the journals Advances in Mathematics and the
Harvard Data Science Review. I was elected a Fellow of the American Mathematical Society in
2017 and was named a Radcliffe Fellow and a Guggenheim Fellow in 2018.


Materials
I consulted a range of materials while preparing this report:
    • Data products published by the Census Bureau, especially the PL94-171 Decennial Cen-
      sus release, the 2015-19 American Community Survey, and the ACS Special Tabulation
      from the same 5-year period. The Census Places dataset was used to extract block as-
      signments to cities and towns. TIGER/Line shapefiles were used to pair demographics
      with geography.
    • Block equivalency files defining the State’s new enacted districts from
      www.sos.alabama.gov/alabama-votes/state-district-maps.

    • The Alabama Legislature’s Reapportionment Committee Redistricting Guidelines [1], as
      well as the other articles cited in the bibliography below.




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2      Introduction
On November 3, 2021, the Alabama Legislature enacted four districting plans: maps of 7 U.S.
Congressional districts, 35 state Senate districts, 105 state House districts, and 8 state Board
of Education districts. They were signed into law by Governor Kay Ivey the next day. This
report presents alternative plans for Alabama Congressional districts and contrasts them with
the enacted plan. I was asked to draw plans that establish that it is possible to create two
majority-Black districts in a map that maintains population balance, reasonable compactness,
respect for political boundaries, and other traditional districting principles. In particular, I was
instructed to emphasize the Polsby-Popper (isoperimetric) definition of compactness.
   I will be comparing the following plans: the enacted plan HB-1 and a set of alternative plans
that I have drawn, labeled Plan A, Plan B, Plan C, and Plan D. They are shown in Figures 1-2.
   The focus of this report is to establish that the first Gingles factor, known as "Gingles 1," is
met:

       First, the minority group must be able to demonstrate that it is sufficiently large and
       geographically compact to constitute a majority in a single-member district.1

Together with Gingles 2 and 3, the factors establishing racially polarized voting, these stand
as the threshold conditions for advancing litigation under the Voting Rights Act.
    Alabama’s largest minority group is Black, with 1,364,736 out of 5,024,279 residents—
27.16% of the total population—identifying as Black, possibly in combination with other races,
of any ethnicity, on their Census forms. This group is therefore large enough to constitute ma-
jorities of three out of seven congressional districts.2 However, the second half of the Gingles
1 condition requires that we take the human geography into account, considering whether the
group’s residential location is sufficiently geographically compact to achieve majority-minority
districts. The constraints of geography make it impossible to create three, but I will show that
it is readily possible to create two majority-Black Congressional districts in Alabama
today.
    Furthermore, these two majority-Black districts can be drawn without sacrificing traditional
districting principles like population balance (§3.1), contiguity (§3.2), respect for political sub-
divisions like counties, cities, and towns (§3.3), or the compactness of the districts (§3.4), and
with heightened respect for communities of interest (§3.5).




    1 Thornburg v. Gingles, 478 U.S. 30 (1986)
  2 Since each district will contain 1/ 7 (or about 14.3%) of the population, it follows that 7.2% of the population is

enough to constitute the majority in a district. Alabama’s Black population is more than three-and-a-half times this
numerous. Thus, in terms of numbers alone, three districts could have Black population majorities by a comfortable
margin.


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3     Traditional districting principles
I will begin by surveying the criteria discussed in the Alabama Legislature’s Reapportionment
Committee Redistricting Guidelines (henceforth, "the Guidelines") [1].


3.1    Population balance
The standard interpretation of One Person, One Vote for Congressional districts is that districts
should be balanced to as near mathematical equality of population as possible, using total
population from the Decennial Census. As the Guidelines put it, "Congressional districts shall
have minimal population deviation." The State’s plan and all four alternative plans have very
tight population balance, with each district within one-person deviation from the rounded ideal
population of 717,754.


3.2    Contiguity
A district formed from census blocks can be called contiguous if it is possible to transit from
any part of the district to any other part through a sequence of blocks that share boundary
segments of positive length. As is traditional in Alabama (and affirmed in Section II.j.ii of the
Guidelines), contiguity through water is accepted. The State’s plan and the four alternative
plans all satisfy contiguity.


3.3    Respect for political subdivisions
The Guidelines call for districting plans to "respect communities of interest, neighborhoods,
and political subdivisions"; in redistricting terms, respect for political subdivisions can be inter-
preted as attempting to keep intact as many localities (counties, cities, and towns) as possible.
In order to make seven finely population-tuned districts, it is necessary to split at least six of
Alabama’s 67 counties into two pieces, or to split some counties into more than two pieces. All
of the plans under consideration—the State’s plan and the four alternative maps—split nine
counties or fewer, giving them high marks for respecting these major political subdivisions.
Plan D in fact splits only five counties, with the largest county (Jefferson) touching three dis-
tricts. On the municipal level, Alabama has 172 cities and 290 towns, according to the 2020
Census. All of the alternative plans are comparable to the State’s plan on locality splits, with
Plan B splitting fewer localities than HB-1.

                               Number of localities split, by type

            localities    counties      municipalities               majority-Black cities
           (out of 529)   (out of 67)    (out of 462)                      (out of 32)

                                                               Adamsville, Bessemer, Birmingham,
  HB-1         42             6              36
                                                                   Montgomery, Tarrant (5)

 Plan A        48             8              40          Adamsville, Bessemer, Birmingham, Pritchard (4)

 Plan B        39             7              32                    Bessemer, Birmingham (2)

 Plan C        51             9              42              Adamsville, Bessemer, Birmingham (3)
                                                           Adamsville, Bessemer, Birmingham, Pleasant
 Plan D        49             5              44
                                                                        Grove, Tarrant (5)

Table 1: Comparing the plans’ conformance to political boundaries. Municipalities are defined
as cities and towns, and localities includes these as well as counties.


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3.4     Compactness
The two compactness metrics most commonly appearing in redistricting are the Polsby-Popper
score and the Reock score. Polsby-Popper is the name given in this setting to a metric from
ancient mathematics: the isoperimetric ratio comparing a region’s area to its perimeter via the
formula 4 A/ P2 . Higher scores are considered more compact, with circles uniquely achieving
the optimum score of 1. Political scientist Ernest Reock created a different score based on the
premise that circles were ideal: it is computed as the ratio of a region’s area to that of its
circumcircle, where the circumcircle is defined as the smallest circle in which the region can
be circumscribed. Polsby-Popper is thought to be relevant as a measure of how erratically the
geographical boundaries divide the districts, but this sometimes penalizes districts for natural
features like coastlines of bays and rivers. Reock has a much weaker justification, since the
primacy of circles is the goal rather than the consequence of the definition.3
    These scores depend on the planar contours of a district and have been criticized as be-
ing too dependent on map projections or on cartographic resolution [2 3]. Besides having
the weakest relevance to redistricting, the Reock score is also technically flawed, subject to
large distortions among different equally reasonable methods of computation. Recently, some
mathematicians have argued for using discrete compactness scores, taking into account the
units of Census geography from which the district is built. The most commonly cited discrete
score for districts is the cut edges score, which counts how many adjacent pairs of geographi-
cal units receive different district assignments. In other words, cut edges measures the "scis-
sors complexity" of the districting plan: how much work would have to be done to separate
the districts from each other? Plans with a very intricate boundary would require many sepa-
rations. Relative to the contour-based scores, this better controls for factors like coastline and
other natural boundaries, and focuses on the units actually available to redistricters rather
than treating districts like free-form Rorschach blots.

                                                 Compactness

                           block cut edges        average Polsby-Popper           average Reock
                            (lower is better)          (higher is better)         (higher is better)
                 HB-1             3230                        0.222                     0.427
                Plan A            3417                        0.256                     0.378
                Plan B            3127                        0.282                     0.365
                Plan C            3774                        0.255                     0.338
                Plan D            3540                        0.249                     0.399

Table 2: Comparing compactness scores via one discrete and two contour-based metrics. Plan
B is the most compact by cut edges. All four alternative plans are superior to the State’s plan
on the Polsby-Popper metric and have very reasonable Reock scores, especially Plan D.



3.5     Additional principles
   • Communities of interest. The Guidelines describe communities of interest in terms
     that are congruent with the usage across many states: "A community of interest is de-
     fined as an area with recognized similarities of interests, including but not limited to
     ethnic, racial, economic, tribal, social, geographic, or historical identities."
      In Alabama, there was no sustained effort by any state authority to formally collect com-
      munity of interest (COI) maps, to my knowledge. Without this, it is difficult to produce a
      suitable metric based on public testimony or submissions.
   3 Reock took the idealization of the circle for granted: "The most compact plane figure is the circle, for here the

maximum area is enclosed within a given perimeter. The circle, therefore, can be used as the ideal of compactness..."
[4]. No further justification is given for why non-circular shapes are plausible indicators of gerrymandering.


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        However, it is possible to identify several clear examples of communities of interest of
        particular salience to Black Alabamians. The "Black Belt" of 18 mostly rural counties will
        be discussed below in §4.2.2.
     • Cores of prior districts. The State’s plan HB-1 bears a close resemblance to the plan
       from the prior Census cycle, which was engineered to have one district with a Black
       supermajority, while the other six do not approach one-third Black population. Therefore
       it should be expected that plans designed to address Voting Rights Act concerns would
       disrupt the structure of the prior plans, which can be confirmed in the alternative plans
       presented here.


4       Racial demographics
4.1      Demographics
Over 1.3 million Alabamians, or 1,364,736 to be precise, identified as Black or African-American
on the 2020 Decennial Census.4 Over a million of these, namely 1,014,372, are of voting age.
Black residents constitute 27.16% of total population, 25.9% of voting-age population, and
26.3% of citizen voting-age population in the state.5 But in the last Census cycle as in the
State’s new proposed plan, just one district out of seven had close to a Black majority—that
one district constitutes just under 14.3% of the seats, while two majority-Black districts can
readily be produced in alternative districting plans.

                              VAP                                                     CVAP

                 BVAP Share by District                                  BCVAP Share by District

  CD      HB-1       Plan A    Plan B    Plan C     Plan D    CD     HB-1       Plan A    Plan B    Plan C     Plan D
    1    25.61%     14.50%     15.73%    15.73%    15.36%      1    25.77%     14.54%    15.77%     15.77%    15.41%
    2    30.12%     51.37%     51.06%    50.06%    50.05%      2    30.49%     52.05%    51.75%     50.78%    50.71%
    3    24.99%     23.96%     22.28%    19.64%    23.96%      3    25.21%     24.26%    22.63%     19.97%    24.26%
    4     7.70%      8.30%     10.86%    11.03%     8.58%      4    7.70%      8.35%     10.91%     11.10%    8.62%
    5    18.06%     16.02%     15.66%    15.66%    16.02%      5    18.23%     16.25%    15.84%     15.84%    16.25%
    6    18.93%     15.44%     15.32%    15.51%    15.37%      6    19.33%     15.62%    15.48%     15.66%    15.53%
    7    55.26%     51.50%     50.24%    53.50%    51.73%      7    56.34%     52.40%    51.28%     54.51%    52.64%


               WVAP Share by District                                    WCVAP Share by District

  CD      HB-1       Plan A    Plan B    Plan C     Plan D    CD     HB-1       Plan A    Plan B    Plan C     Plan D
    1    66.00%     76.25%     75.20%    75.20%    75.47%      1    65.17%     75.19%    74.13%     74.13%    74.40%
    2    62.03%     42.33%     42.60%    43.14%    43.56%      2    61.43%     41.89%    42.19%     42.65%    43.14%
    3    67.74%     67.78%     68.47%    70.99%    67.78%      3    67.49%     67.61%    68.37%     71.04%    67.61%
    4    82.41%     82.98%     80.12%    79.98%    82.63%      4    82.50%     82.62%    79.88%     79.78%    82.30%
    5    70.89%     71.62%     72.56%    72.56%    71.62%      5    70.42%     71.24%    72.28%     72.28%    71.24%
    6    71.16%     75.39%     76.73%    76.49%    75.58%      6    71.23%     75.83%    76.63%     76.35%    76.01%
    7    38.60%     42.08%     42.71%    40.04%    41.82%      7    38.02%     41.51%    42.24%     39.53%    41.22%


        Table 3: Demographics broken out as a comparison of Black and White population.

    4 Here and throughout, we use the so-called "Any Part Black" definition, which counts people who self-identified

as Black on the Census form, possibly in combination with other races, whether Hispanic or not, for total population
and voting-age population. Abbreviations such as BVAP refer to this construction. Citizen voting-age population is
derived from the American Community Survey (ACS) in combination with the Decennial Census. The racial group
constructions are fully defined in the supplemental material.
   5 Black citizen voting-age population is derived from the 5-year ACS, 2015–2019. The supplemental material con-

tains an explanation of how BCVAP and WCVAP are constructed.


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            CD      WVAP       BVAP     HVAP     WCVAP     BCVAP     HCVAP
             1     66.00%     25.61%    3.23%    65.17%    25.77%    2.45%
             2     62.03%     30.12%    3.57%    61.43%    30.49%    2.55%
             3     67.74%     24.99%    3.07%    67.49%    25.21%    2.29%
       HB-1
             4     82.41%      7.70%    5.66%    82.50%    7.70%     2.84%
             5     70.89%     18.06%    5.28%    70.42%    18.23%    3.31%
             6     71.16%     18.93%    5.38%    71.23%    19.33%    2.81%
             7     38.60%     55.26%    3.65%    38.02%    56.34%    2.05%

              CD     WVAP      BVAP     HVAP     WCVAP     BCVAP     HCVAP
               1    76.25%    14.50%    4.00%    75.19%    14.54%    3.07%
               2    42.33%    51.37%    2.68%    41.89%    52.05%    1.77%
               3    67.78%    23.96%    3.98%    67.61%    24.26%    2.62%
       Plan A
               4    82.98%     8.30%    4.58%    82.62%     8.35%    2.58%
               5    71.62%    16.02%    6.50%    71.24%    16.25%    3.67%
               6    75.39%    15.44%    3.91%    75.83%    15.62%    2.26%
               7    42.08%    51.50%    4.18%    41.51%    52.40%    2.32%

              CD     WVAP      BVAP     HVAP     WCVAP     BCVAP     HCVAP
               1    75.20%    15.73%    3.99%    74.13%    15.77%    3.06%
               2    42.60%    51.06%    2.60%    42.19%    51.75%    1.71%
               3    68.47%    22.28%    4.59%    68.37%    22.63%    2.92%
       Plan B
               4    80.12%    10.86%    4.68%    79.88%    10.91%    2.70%
               5    72.56%    15.66%    6.23%    72.28%    15.84%    3.40%
               6    76.73%    15.32%    3.46%    76.63%    15.48%    2.11%
               7    42.71%    50.24%    4.29%    42.24%    51.28%    2.41%

              CD     WVAP      BVAP     HVAP     WCVAP     BCVAP     HCVAP
               1    75.20%    15.73%    3.99%    74.13%    15.77%    3.06%
               2    43.14%    50.06%    2.93%    42.65%    50.78%    1.95%
               3    70.99%    19.64%    4.46%    71.04%    19.97%    2.82%
       Plan C
               4    79.98%    11.03%    4.70%    79.78%    11.10%    2.69%
               5    72.56%    15.66%    6.23%    72.28%    15.84%    3.40%
               6    76.49%    15.51%    3.51%    76.35%    15.66%    2.13%
               7    40.04%    53.50%    4.01%    39.53%    54.51%    2.26%

              CD     WVAP      BVAP     HVAP     WCVAP     BCVAP     HCVAP
               1    75.47%    15.36%    4.01%    74.40%    15.41%    3.07%
               2    43.56%    50.05%    2.68%    43.14%    50.71%    1.79%
               3    67.78%    23.96%    3.98%    67.61%    24.26%    2.62%
       Plan D
               4    82.63%     8.58%    4.66%    82.30%     8.62%    2.61%
               5    71.62%    16.02%    6.50%    71.24%    16.25%    3.67%
               6    75.58%    15.37%    3.93%    76.01%    15.53%    2.25%
               7    41.82%    51.73%    4.08%    41.22%    52.64%    2.30%

Table 4: Demographics by district in the State’s plan HB-1 and the alternative plans.




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    By contrast, the non-Hispanic White population share in Alabama is 63.12% and the corre-
sponding shares of voting-age population and citizen voting-age population are 65.47% and
65.07%, respectively. By any of these measures, proportional representation for White voters
would be between 4.4 and 4.6 of Alabama’s 7 seats in the U.S. House. The State’s map HB-1
orchestrates a non-Hispanic White VAP share of at least 60% in all districts besides CD-7—that
is, in 6 out of 7 Congressional districts.


4.2     Centers of Black population
4.2.1   Urban

The four largest cities in Alabama today are Huntsville (population 215,006), Birmingham
(population 200,733), Montgomery (population 200,603), and Mobile (population 187,041).
Together, they have over 400,000 Black residents, comprising roughly 1/3 of the Black popu-
lation in the state. Of these cities, Birmingham, Montgomery, and Mobile are majority-Black,
with population shares of 69.9%, 60.8%, and 51.5%, respectively, making them two among
Alabama’s 52 majority-Black cities.
    Of those four largest cities, the State’s plan HB-1 only includes parts of Birmingham and
parts of Montgomery in a majority-Black district. In particular, this means that the hundreds
of thousands of Black voters in Montgomery and Mobile are located in districts in which Black
population share falls short of one-third.
    All four alternative plans retain most of Birmingham in a majority-Black district, but by
adding a second majority district the alternative plans are able to include all of Montgomery
and most of Mobile as well.




Figure 3: Black voting-age population share is shown by shading at the precinct level. The
major cities have visible concentrations of Black population, and the Black Belt rural counties
are clearly visible running East-West across the state.




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4.2.2   Rural: Alabama’s Black Belt

Alabama also has a significant Black population in rural counties, especially in the 18 "Black
Belt" counties of Barbour, Bullock, Butler, Choctaw, Crenshaw, Dallas, Greene, Hale, Lowndes,
Macon, Marengo, Montgomery, Perry, Pickens, Pike, Russell, Sumter, and Wilcox. These coun-
ties have a long shared history from plantation slavery to sharecropping to Jim Crow and up to
the present—these constitute very clear communities of interest by the Guidelines definition.
(Recalling from above, that definition holds that "A community of interest is defined as an area
with recognized similarities of interests, including but not limited to ethnic, racial, economic,
tribal, social, geographic, or historical identities.")
    The Black Belt includes 8 of the 10 least populous counties in the state, each with under
13,000 residents. Together, the Black Belt region has over 300,000 Black residents.
    In the State’s plan, eight of these are partially or fully excluded from majority-Black districts:
Barbour, Bullock, Butler, Crenshaw, Macon, Pike, and Russell are excluded from CD-7 while
Montgomery County is split.
    Each of the 18 Black Belt counties is contained in majority-Black districts in at least some of
the alternative plans presented here: Plan A and Plan D include all but part of Russell County,
Plan B includes all but Russell and part of Barbour County, and Plan C includes the entirety of
the Black Belt. Forming a district that reaches south into Mobile County and eastward across
the Black Belt is natural for a mapmaker following traditional principles. In fact, the State’s
own recently enacted State Board of Education map, which has two majority-Black districts
out of eight, does just this in a manner similar to my illustrative Congressional plans.


5     Conclusion
I have presented four alternative maps that all secure population majorities for Black Alabami-
ans in two districts, rather than just one district, out of seven.

    • The State’s map and all four alternative plans have districts balanced to within ±1 person
      from rounded ideal size. All four plans are contiguous, and all split five to nine counties,
      at or close to the theoretical minimum level of splitting.
    • All four alternative plans have strong compactness scores; in fact, all four are significantly
      superior to the State’s plan in the most common compactness metric, the average Polsby-
      Popper score.
    • The State’s plan splits Montgomery County and Montgomery City, even though Mont-
      gomery County is less than one-third the size of a Congressional district. All four alterna-
      tive plans hold the city and county whole.

    • Proportionality for the White non-Hispanic population in Alabama would amount to roughly
      4.5 out of 7 seats in Congress, but the State’s map would lock in fully 6 out of 7 seats for
      White-preferred candidates—a massively super-proportional showing.
    • All four alternative plans place thousands of Black voters in the population centers of
      Montgomery and Mobile, as well as voters across the rural Black Belt, in majority-Black
      districts. Seven Black Belt counties are wholly excluded from the sole majority-Black
      district, and another is split, in the State’s plan. Relative to HB-1, each one of the alterna-
      tive plans allows over 300,000 additional Black Alabamians—including plaintiffs Shalela
      Dowdy (Mobile), Evan Milligan (Montgomery), and Khadidah Stone (Montgomery)—to live
      in majority-Black districts.




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[3] Richard Barnes and Justin Solomon, Gerrymandering and Compactness: Implementation
    Flexibility and Abuse. Political Analysis, Volume 29, Issue 4, October 2021, 448–466.

[4] Ernest C. Reock, Jr., A Note: Measuring Compactness as a Requirement of Legislative
    Apportionment. Midwest Journal of Political Science, Vol. 5, No. 1 (Feb., 1961), 70–74.




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A       Supplemental information
Definition of Black by Census Codes (within total population)
Black or African American alone P0010004
White; Black or African American P0010011
Black or African American; American Indian and Alaska Native P0010016
Black or African American; Asian P0010017
Black or African American; Native Hawaiian and Other Pacific Islander P0010018
Black or African American; Some Other Race P0010019
White; Black or African American; American Indian and Alaska Native P0010027
White; Black or African American; Asian P0010028
White; Black or African American; Native Hawaiian and Other Pacific Islander P0010029
White; Black or African American; Some Other Race P0010030
Black or African American; American Indian and Alaska Native; Asian P0010037
Black or African American; American Indian and Alaska Native; Native Hawaiian and Other Pacific Islander P0010038
Black or African American; American Indian and Alaska Native; Some Other Race P0010039
Black or African American; Asian; Native Hawaiian and Other Pacific Islander P0010040
Black or African American; Asian; Some Other Race P0010041
Black or African American; Native Hawaiian and Other Pacific Islander; Some Other Race P0010042
White; Black or African American; American Indian and Alaska Native; Asian P0010048
White; Black or African American; American Indian and Alaska Native; Native Hawaiian and Other Pacific Islander P0010049
White; Black or African American; American Indian and Alaska Native; Some Other Race P0010050
White; Black or African American; Asian; Native Hawaiian and Other Pacific Islander P0010051
White; Black or African American; Asian; Some Other Race P0010052
White; Black or African American; Native Hawaiian and Other Pacific Islander; Some Other Race P0010053
Black or African American; American Indian and Alaska Native; Asian; Native Hawaiian and Other Pacific Islander P0010058
Black or African American; American Indian and Alaska Native; Asian; Some Other Race P0010059
Black or African American; American Indian and Alaska Native; Native Hawaiian and Other Pacific Islander; Some Other Race P0010060
Black or African American; Asian; Native Hawaiian and Other Pacific Islander; Some Other Race P0010061
White; Black or African American; American Indian and Alaska Native; Asian; Native Hawaiian and Other Pacific Islander P0010064
White; Black or African American; American Indian and Alaska Native; Asian; Some Other Race P0010065
White; Black or African American; American Indian and Alaska Native; Native Hawaiian and Other Pacific Islander; Some Other Race P0010066
White; Black or African American; Asian; Native Hawaiian and Other Pacific Islander; Some Other Race P0010067
Black or African American; American Indian and Alaska Native; Asian; Native Hawaiian and Other Pacific Islander; Some Other Race P0010069
White; Black or African American; American Indian and Alaska Native; Asian; Native Hawaiian and Other Pacific Islander; Some Other Race P0010071



Definition of Black by Census Codes (within voting-age population)
Black or African American alone P0030004
White; Black or African American P0030011
Black or African American; American Indian and Alaska Native P0030016
Black or African American; Asian P0030017
Black or African American; Native Hawaiian and Other Pacific Islander P0030018
Black or African American; Some Other Race P0030019
White; Black or African American; American Indian and Alaska Native P0030027
White; Black or African American; Asian P0030028
White; Black or African American; Native Hawaiian and Other Pacific Islander P0030029
White; Black or African American; Some Other Race P0030030
Black or African American; American Indian and Alaska Native; Asian P0030037
Black or African American; American Indian and Alaska Native; Native Hawaiian and Other Pacific Islander P0030038
Black or African American; American Indian and Alaska Native; Some Other Race P0030039
Black or African American; Asian; Native Hawaiian and Other Pacific Islander P0030040
Black or African American; Asian; Some Other Race P0030041
Black or African American; Native Hawaiian and Other Pacific Islander; Some Other Race P0030042
White; Black or African American; American Indian and Alaska Native; Asian P0030048
White; Black or African American; American Indian and Alaska Native; Native Hawaiian and Other Pacific Islander P0030049
White; Black or African American; American Indian and Alaska Native; Some Other Race P0030050
White; Black or African American; Asian; Native Hawaiian and Other Pacific Islander P0030051
White; Black or African American; Asian; Some Other Race P0030052
White; Black or African American; Native Hawaiian and Other Pacific Islander; Some Other Race P0030053
Black or African American; American Indian and Alaska Native; Asian; Native Hawaiian and Other Pacific Islander P0030058
Black or African American; American Indian and Alaska Native; Asian; Some Other Race P0030059
Black or African American; American Indian and Alaska Native; Native Hawaiian and Other Pacific Islander; Some Other Race P0030060
Black or African American; Asian; Native Hawaiian and Other Pacific Islander; Some Other Race P0030061
White; Black or African American; American Indian and Alaska Native; Asian; Native Hawaiian and Other Pacific Islander P0030064
White; Black or African American; American Indian and Alaska Native; Asian; Some Other Race P0030065
White; Black or African American; American Indian and Alaska Native; Native Hawaiian and Other Pacific Islander; Some Other Race P0030066
White; Black or African American; Asian; Native Hawaiian and Other Pacific Islander; Some Other Race P0030067
Black or African American; American Indian and Alaska Native; Asian; Native Hawaiian and Other Pacific Islander; Some Other Race P0030069
White; Black or African American; American Indian and Alaska Native; Asian; Native Hawaiian and Other Pacific Islander; Some Other Race P0030071



Definition of Black via Census products (within citizen voting-age population)
The 2015-2019 5-year ACS Special Tabulation produces 2010 tract-level estimates of citizen voting age
population (CVAP) with some subpopulations. I selected the Non-Hispanic White (WCVAP), Non-Hispanic
Black or African American (BCVAP), and Hispanic (HCVAP) categories. The 2015-2019 ACS also provides
2010 tract-level voting age population (VAP) estimates by tract, from which we use White (WVAP), Black
or African American (BVAP), and Hispanic (HVAP). From these two products I have calculated the citizen-
ship share for each subpopulation in each 2010 Census tract in Alabama. This citizenship share tracks,
for example, BCVAP / BVAP—the share of non-Hispanic Black citizens of voting age over the total number
of Black citizens, independent of ethnicity. To calculate 2020 CVAP estimates on 2020 Census blocks, I
start with the 2020 PL-94 to determine the VAP share in each block for each subpopulation, then multiply
by the corresponding citizenship share. For instance, we compute the 2020 BVAP count in each block b
(independent of ethnicity) and multiply it by the BCVAP / BVAP citizenship share assigned to the 2010
tract that contains b. An exactly similar method is used for WCVAP and HCVAP.




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I declare under penalty of perjury that the foregoing is true and correct.



Executed this 10th day of December, 2021.




                                                                             Moon Duchin




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                       Appendix A
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Moon Duchin                                                                       moon.duchin@tufts.edu - mduchin.math.tufts.edu
                                                                        Mathematics · STS · Tisch College of Civic Life | Tufts University


 Education
    University of Chicago                                                                                    MS 1999, PhD 2005
    Mathematics
    Advisor: Alex Eskin            Dissertation: Geodesics track random walks in Teichmüller space

    Harvard University                                                                                                       BA 1998
    Mathematics and Women’s Studies


 Appointments
    Tufts University
    Professor of Mathematics                                                                                                 2021—
    Assistant Professor, Associate Professor                                                                             2011–2021
    Director | Program in Science, Technology, & Society                                                                  2015–2021
    (on leave 2018–2019)
    Principal Investigator | MGGG Redistricting Lab                                                                             2017—
    Senior Fellow | Tisch College of Civic Life                                                                                 2017—

    University of Michigan
    Assistant Professor (postdoctoral)                                                                                    2008–2011

    University of California, Davis
    NSF VIGRE Postdoctoral Fellow                                                                                        2005–2008


 Research Interests
    Data science for civil rights, computation and governance, elections, geometry and redistricting.
    Science, technology, and society, science policy, technology and law.
    Random walks and Markov chains, random groups, random constructions in geometry.
    Large-scale geometry, metric geometry, isoperimetric inequalities.
    Geometric group theory, growth of groups, nilpotent groups, dynamics of group actions.
    Geometric topology, hyperbolicity, Teichmüller theory.

 Awards & Distinctions
    Research Professor - MSRI Program in Analysis and Geometry of Random Spaces                                         Spring 2022
    Guggenheim Fellow                                                                                                             2018
    Radcliffe Fellow - Evelyn Green Davis Fellowship                                                                      2018–2019
    Fellow of the American Mathematical Society                                                                        elected 2017
    NSF C-ACCEL (PI) - Harnessing the Data Revolution: Network science of Census data                                     2019–2020
    NSF grants (PI) - CAREER grant and three standard Topology grants                                                     2009–2022
    Professor of the Year, Tufts Math Society                                                                             2012–2013
    AAUW Dissertation Fellowship                                                                                          2004–2005
    NSF Graduate Fellowship                                                                                               1998–2002
    Lawrence and Josephine Graves Prize for Excellence in Teaching (U Chicago)                                                    2002
    Robert Fletcher Rogers Prize (Harvard Mathematics)                                                                    1995–1996

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Mathematics Publications & Preprints
   The (homological) persistence of gerrymandering
   Foundations of Data Science, online first. (with Thomas Needham and Thomas Weighill)
   You can hear the shape of a billiard table: Symbolic dynamics and rigidity for flat surfaces
   Commentarii Mathematici Helvetici, to appear. arXiv:1804.05690
   (with Viveka Erlandsson, Christopher Leininger, and Chandrika Sadanand)
   Conjugation curvature for Cayley graphs
   Journal of Topology and Analysis, online first. (with Assaf Bar-Natan and Robert Kropholler)
   A reversible recombination chain for graph partitions
   Preprint. (with Sarah Cannon, Dana Randall, and Parker Rule)
   Recombination: A family of Markov chains for redistricting
   Harvard Data Science Review. Issue 3.1, Winter 2021. online. (with Daryl DeFord and Justin Solomon)
   Census TopDown: The impact of differential privacy on redistricting
   2nd Symposium on Foundations of Responsible Computing (FORC 2021), 5:1–5:22. online.
   (with Aloni Cohen, JN Matthews, and Bhushan Suwal)
   Stars at infinity in Teichmüller space
   Geometriae Dedicata, Volume 213, 531–545 (2021). (with Nate Fisher) arXiv:2004.04321
   Random walks and redistricting: New applications of Markov chain Monte Carlo
   (with Daryl DeFord) For edited volume, Political Geometry. Under contract with Birkhäuser.
   Mathematics of nested districts: The case of Alaska
   Statistics and Public Policy. Vol 7, No 1 (2020), 39–51. (w/ Sophia Caldera, Daryl DeFord, Sam Gutekunst, & Cara Nix)
   A computational approach to measuring vote elasticity and competitiveness
   Statistics and Public Policy. Vol 7, No 1 (2020), 69–86. (with Daryl DeFord and Justin Solomon)
   The Heisenberg group is pan-rational
   Advances in Mathematics 346 (2019), 219–263. (with Michael Shapiro)
   Random nilpotent groups I
   IMRN, Vol 2018, Issue 7 (2018), 1921–1953. (with Matthew Cordes, Yen Duong, Meng-Che Ho, and Ayla Sánchez)
   Hyperbolic groups
   chapter in Office Hours with a Geometric Group Theorist, eds. M.Clay,D.Margalit, Princeton U Press (2017), 177–203.
   Counting in groups: Fine asymptotic geometry
   Notices of the American Mathematical Society 63, No. 8 (2016), 871–874.
   A sharper threshold for random groups at density one-half
   Groups, Geometry, and Dynamics 10, No. 3 (2016), 985–1005.
   (with Katarzyna Jankiewicz, Shelby Kilmer, Samuel Lelièvre, John M. Mackay, and Ayla Sánchez)
   Equations in nilpotent groups
   Proceedings of the American Mathematical Society 143 (2015), 4723–4731. (with Hao Liang and Michael Shapiro)
   Statistical hyperbolicity in Teichmüller space
   Geometric and Functional Analysis, Volume 24, Issue 3 (2014), 748–795. (with Howard Masur and Spencer Dowdall)
   Fine asymptotic geometry of the Heisenberg group
   Indiana University Mathematics Journal 63 No. 3 (2014), 885–916. (with Christopher Mooney)
   Pushing fillings in right-angled Artin groups
   Journal of the LMS, Vol 87, Issue 3 (2013), 663–688. (with Aaron Abrams, Noel Brady, Pallavi Dani, and Robert Young)
   Spheres in the curve complex
   In the Tradition of Ahlfors and Bers VI, Contemp. Math. 590 (2013), 1–8. (with Howard Masur and Spencer Dowdall)




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   The sprawl conjecture for convex bodies
   Experimental Mathematics, Volume 22, Issue 2 (2013), 113–122. (with Samuel Lelièvre and Christopher Mooney)
   Filling loops at infinity in the mapping class group
   Michigan Math. J., Vol 61, Issue 4 (2012), 867–874. (with Aaron Abrams, Noel Brady, Pallavi Dani, and Robert Young)
   The geometry of spheres in free abelian groups
   Geometriae Dedicata, Volume 161, Issue 1 (2012), 169–187. (with Samuel Lelièvre and Christopher Mooney)
   Statistical hyperbolicity in groups
   Algebraic and Geometric Topology 12 (2012) 1–18. (with Samuel Lelièvre and Christopher Mooney)
   Length spectra and degeneration of flat metrics
   Inventiones Mathematicae, Volume 182, Issue 2 (2010), 231–277. (with Christopher Leininger and Kasra Rafi)
   Divergence of geodesics in Teichmüller space and the mapping class group
   Geometric and Functional Analysis, Volume 19, Issue 3 (2009), 722–742. (with Kasra Rafi)
   Curvature, stretchiness, and dynamics
   In the Tradition of Ahlfors and Bers IV, Contemp. Math. 432 (2007), 19–30.
   Geodesics track random walks in Teichmüller space
   PhD Dissertation, University of Chicago 2005.


Science, Technology, Law, and Policy Publications & Preprints
   Models, Race, and the Law
   Yale Law Journal Forum, Vol. 130 (March 2021). Available online. (with Doug Spencer)
   Computational Redistricting and the Voting Rights Act
   Election Law Journal, Available online. (with Amariah Becker, Dara Gold, and Sam Hirsch)
   Discrete geometry for electoral geography
   Preprint. (with Bridget Eileen Tenner) arXiv:1808.05860
   Implementing partisan symmetry: Problems and paradoxes
   Political Analysis, to appear. (with Daryl DeFord, Natasha Dhamankar, Mackenzie McPike, Gabe Schoenbach, and
   Ki-Wan Sim) arXiv:2008:06930
   Clustering propensity: A mathematical framework for measuring segregation
   Preprint. (with Emilia Alvarez, Everett Meike, and Marshall Mueller; appendix by Tyler Piazza)
   Locating the representational baseline: Republicans in Massachusetts
   Election Law Journal, Volume 18, Number 4, 2019, 388–401.
   (with Taissa Gladkova, Eugene Henninger-Voss, Ben Klingensmith, Heather Newman, and Hannah Wheelen)
   Redistricting reform in Virginia: Districting criteria in context
   Virginia Policy Review, Volume XII, Issue II, Spring 2019, 120–146. (with Daryl DeFord)
   Geometry v. Gerrymandering
   The Best Writing on Mathematics 2019, ed. Mircea Pitici. Princeton University Press.
   reprinted from Scientific American, November 2018, 48–53.
   Gerrymandering metrics: How to measure? What’s the baseline?
   Bulletin of the American Academy for Arts and Sciences, Vol. LXII, No. 2 (Winter 2018), 54–58.
   Rebooting the mathematics of gerrymandering: How can geometry track with our political values?
   The Conversation (online magazine), October 2017. (with Peter Levine)
   A formula goes to court: Partisan gerrymandering and the efficiency gap
   Notices of the American Mathematical Society 64 No. 9 (2017), 1020–1024. (with Mira Bernstein)
   International mobility and U.S. mathematics
   Notices of the American Mathematical Society 64, No. 7 (2017), 682–683.



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Graduate Advising in Mathematics
   Nate Fisher (PhD 2021), Sunrose Shrestha (PhD 2020),               Ayla Sánchez (PhD 2017),
   Kevin Buckles (PhD 2015), Mai Mansouri (MS 2014)
   Outside committee member for Chris Coscia (PhD 2020), Dartmouth College



Postdoctoral Advising in Mathematics
   Principal supervisor Thomas Weighill (2019–2020)
   Co-supervisor Daryl DeFord (MIT 2018–2020), Rob Kropholler (2017–2020), Hao Liang (2013–2016)



Teaching

   Courses Developed or Customized
   Mathematics of Social Choice | sites.tufts.edu/socialchoice
   Voting theory, impossibility theorems, redistricting, theory of representative democracy, metrics of fairness.

   History of Mathematics | sites.tufts.edu/histmath
   Social history of mathematics, organized around episodes from antiquity to present. Themes include materials and
   technologies of creation and dissemination, axioms, authority, credibility, and professionalization. In-depth treatment
   of mathematical content from numeration to cardinal arithmetic to Galois theory.

   Reading Lab: Mathematical Models in Social Context | sites.tufts.edu/models
   One hr/wk discussion seminar of short but close reading on topics in mathematical modeling, including history of
   psychometrics; algorithmic bias; philosophy of statistics; problems of model explanation and interpretation.

   Geometric Literacy
   Module-based graduate topics course. Modules have included: p-adic numbers, hyperbolic geometry, nilpotent
   geometry, Lie groups, convex geometry and analysis, the complex of curves, ergodic theory, the Gauss circle problem.

   Markov Chains (graduate topics course)
   Teichmüller Theory (graduate topics course)
   Fuchsian Groups (graduate topics course)
   Continued Fractions and Geometric Coding (undergraduate topics course)
   Mathematics for Elementary School Teachers

   Standard Courses
   Discrete Mathematics, Calculus I-II-III, Intro to Proofs, Linear Algebra, Complex Analysis, Differential Geometry,
   Abstract Algebra, Graduate Real Analysis, Mathematical Modeling and Computation


   Weekly Seminars Organized
     - Geometric Group Theory and Topology
     - Science, Technology, and Society Lunch Seminar




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Selected Talks and Lectures

   Distinguished Plenary Lecture                                                                     June 2021
   75th Anniversary Meeting of Canadian Mathematical Society, Ottawa, Ontario                    online (COVID)

   BMC/BAMC Public Lecture                                                                            April 2021
   Joint British Mathematics/Applied Mathematics Colloquium, Glasgow, Scotland                   online (COVID)
   AMS Einstein Public Lecture in Mathematics                                                     [March 2020]
   Southeastern Sectional Meeting of the AMS, Charlottesville, VA                                   postponed

   Gerald and Judith Porter Public Lecture
   AMS-MAA-SIAM, Joint Mathematics Meetings, San Diego, CA                                        January 2018
   Mathematical Association of America Distinguished Lecture
   MAA Carriage House, Washington, DC                                                             October 2016

   American Mathematical Society Invited Address
   AMS Eastern Sectional Meeting, Brunswick, ME                                                 September 2016


   Named University Lectures
     - Parsons Lecture | UNC Asheville                                                              October 2020
     - Loeb Lectures in Mathematics | Washington University in St. Louis                             [March 2020]
     - Math, Stats, CS, and Society | Macalester College                                            October 2019
     - MRC Public Lecture | Stanford University                                                         May 2019
     - Freedman Memorial Colloquium | Boston University                                               March 2019
     - Julian Clancy Frazier Colloquium Lecture | U.S. Naval Academy                                January 2019
     - Barnett Lecture | University of Cincinnati                                                   October 2018
     - School of Science Colloquium Series | The College of New Jersey                                March 2018
     - Kieval Lecture | Cornell University                                                         February 2018
     - G. Milton Wing Lectures | University of Rochester                                            October 2017
     - Norman Johnson Lecture | Wheaton College                                                  September 2017
     - Dan E. Christie Lecture | Bowdoin College                                                 September 2017



   Math/Computer Science Department Colloquia
     - Reed College                         Dec 2020               - Université de Neuchâtel         Jun 2016
     - Georgetown (CS)                     Sept 2020               - Brandeis University             Mar 2016
     - Santa Fe Institute                  July 2020               - Swarthmore College              Oct 2015
     - UC Berkeley                         Sept 2018               - Bowling Green                  May 2015
     - Brandeis-Harvard-MIT-NEU             Mar 2018               - City College of New York        Feb 2015
     - Northwestern University              Oct 2017               - Indiana University             Nov 2014
     - University of Illinois              Sept 2017               - the Technion                    Oct 2014
     - University of Utah                   Aug 2017               - Wisconsin–Madison              Sept 2014
     - Wesleyan                             Dec 2016               - Stony Brook                   March 2013
     - Worcester Polytechnic Inst.          Dec 2016




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   Minicourses
     - Integer programming and combinatorial optimization (two talks) | Georgia Tech                    May 2021
     - Workshop in geometric topology (main speaker, three talks) | Provo, UT                          June 2017
     - Growth in groups (two talks) | MSRI, Berkeley, CA                                             August 2016
     - Hyperbolicity in Teichmüller space (three talks) | Université de Grenoble                       May 2016
     - Counting and growth (four talks) | IAS Women’s Program, Princeton                               May 2016
     - Nilpotent groups (three talks) | Seoul National University                                   October 2014
     - Sub-Finsler geometry of nilpotent groups (five talks) | Galatasaray Univ., Istanbul             April 2014

   Science, Technology, and Society
     - The Mathematics of Accountability | Sawyer Seminar, Anthropology, Johns Hopkins              February 2020
     - STS Circle | Harvard Kennedy School of Government                                          September 2019
     - Data, Classification, and Everyday Life Symposium | Rutgers Center for Cultural Analysis      January 2019
     - Science Studies Colloquium | UC San Diego                                                     January 2019
     - Arthur Miller Lecture on Science and Ethics | MIT Program in Science, Tech, and Society    November 2018

   Data Science, Computer Science, Quantitative Social Science
     - Data Science for Social Good Workshop (DS4SG) | Georgia Tech (virtual)                     November 2020
     - Privacy Tools Project Retreat | Harvard (virtual)                                                May 2020
     - Women in Data Science Conference | Microsoft Research New England                              March 2020
     - Quantitative Research Methods Workshop | Yale Center for the Study of American Politics      February 2020
     - Societal Concerns in Algorithms and Data Analysis | Weizmann Institute                      December 2018
     - Quantitative Collaborative | University of Virginia                                            March 2018
     - Quantitative Social Science | Dartmouth College                                            September 2017
     - Data for Black Lives Conference | MIT                                                      November 2017

   Political Science, Geography, Law, Democracy, Fairness
     - The Long 19th Amendment: Women, Voting, and American Democracy | Radcliffe Institute         Nov–Dec 2020
     - "The New Math" for Civil Rights | Social Justice Speaker Series, Davidson College          November 2020
     - Math, Law, and Racial Fairness | Justice Speaker Series, University of South Carolina      November 2020
     - Voting Rights Conference | Northeastern Public Interest Law Program                        September 2020
     - Political Analysis Workshop | Indiana University                                           November 2019
     - Program in Public Law Panel | Duke Law School                                                 October 2019
     - Redistricting 2021 Seminar | University of Chicago Institute of Politics                         May 2019
     - Geography of Redistricting Conference Keynote | Harvard Center for Geographic Analysis           May 2019
     - Political Analytics Conference | Harvard University                                        November 2018
     - Cyber Security, Law, and Society Alliance | Boston University                              September 2018
     - Clough Center for the Study of Constitutional Democracy | Boston College                    November 2017
     - Tech/Law Colloquium Series | Cornell Tech                                                   November 2017
     - Constitution Day Lecture | Rockefeller Center for Public Policy, Dartmouth College         September 2017


Editorial Boards
   Harvard Data Science Review
   Associate Editor                                                                                   since 2019

   Advances in Mathematics
   Member, Editorial Board                                                                            since 2018




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Selected Professional and Public Service
   Amicus Brief of Mathematicians, Law Professors, and Students                                  2019
   principal co-authors: Guy-Uriel Charles and Moon Duchin
   Supreme Court of the United States, in Rucho v. Common Cause - cited in dissent

   Committee on Science Policy                                                              2020–2023
   American Mathematical Society

   Program Committee                                                                        2020–2021
   Symposium on Foundations of Responsible Computing

   Presenter on Public Mapping, Statistical Modeling                                        2019, 2020
   National Conference of State Legislatures

   Committee on the Human Rights of Mathematicians                                          2016–2019
   American Mathematical Society

   Committee on The Future of Voting: Accessible, Reliable, Verifiable Technology           2017–2018
   National Academies of Science, Engineering, and Medicine



Visiting Positions and Residential Fellowships
   Visiting Professor Department of Mathematics                                              Fall 2021
   Boston College | Chestnut Hill, MA
   Fellow Radcliffe Institute for Advanced Study                                              2018–19
   Harvard University | Cambridge, MA
   Member Center of Mathematical Sciences and Applications                                    2018–19
   Harvard University | Cambridge, MA
   Visitor Microsoft Research Lab                                                             2018–19
   MSR New England | Cambridge, MA
   Research Member Geometric Group Theory program                                            Fall 2016
   Mathematical Sciences Research Institute | Berkeley, CA
   Research Member Random Walks and Asymptotic Geometry of Groups program                  Spring 2014
   Institut Henri Poincaré | Paris, France
   Research Member Low-dimensional Topology, Geometry, and Dynamics program                  Fall 2013
   Institute for Computational and Experimental Research in Mathematics | Providence, RI
   Research Member Geometric and Analytic Aspects of Group Theory program                    May 2012
   Institut Mittag-Leffler | Stockholm, Sweden
   Research Member Quantitative Geometry program                                             Fall 2011
   Mathematical Sciences Research Institute | Berkeley, CA
   Postdoctoral Fellow Teichmüller "project blanc"                                         Spring 2009
   Agence Nationale de la Recherche (Collège de France) | Paris, France




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